  Case 08-14571       Doc 46     Filed 08/15/08 Entered 08/15/08 18:11:21            Desc Main
                                  Document     Page 1 of 15


                           UNITED STATES BANKRUPTCY COURT
                              DISTRICT OF MASSACHUSETTS
                                   EASTERN DIVISION

_________________________________________
In re:                                    )
                                          )
BOSTON FINANCIAL CORPORATION              )                   Chapter 11
                                          )                   No. 08-14571-HJB
                        Debtor            )
_________________________________________ )

           DEBTOR'S MOTION FOR AUTHORIZATION TO EMPLOY
      FRANK D. KIRBY, ESQ. AS REPLACEMENT COUNSEL TO THE DEBTOR


       Boston Financial Corporation (the "Debtor"), hereby moves the Court for the entry of an

order authorizing the employment of Frank D. Kirby, Esq. as replacement counsel to the Debtor

under a general retainer, and in further support of this motion states as follows:

                                         Jurisdiction

   1. This Court has jurisdiction over this motion under 28 U.S.C. §§ 157 and 1334. This

       matter is a core proceeding within the meaning of 28 U.S.C. § 157 (b) (2). Venue of this

       proceeding and this motion in this District is proper under 28 U.S.C. §§ 1408 and 1409.

   2. The bases for the relief requested in this motion are Section 327 of title 11 of the

       United States Code, Rule 2014 of the Federal Rules of Bankruptcy Procedure and

       MLBR 2014-1.

                                         Background

   3. The Debtor filed a Voluntary Petition under Chapter 11 of the Bankruptcy Code in the

       United States for the District of Massachusetts on June 23, 2008 (the "Petition Date").

   4. The Debtor continues to operate as a debtor-in-possession pursuant to Sections 1107 and

       1108 of the Code.
Case 08-14571      Doc 46     Filed 08/15/08 Entered 08/15/08 18:11:21            Desc Main
                               Document     Page 2 of 15


 5. Debtor operates a commercial factoring company specializing in accounts receivable

    factoring and in business loans of all types.

 6. Debtor is a Massachusetts corporation. Frank A. Coviello is the sole director and

    president of Boston Financial Corporation and owns one hundred percent (100%) of

    Debtor's outstanding shares.

                                     Retention of FDK

 7. The Debtor seeks an order of this Court authorizing the employment and retention of

    Frank D. Kirby, Esq. as it's bankruptcy counsel in this Chapter 11 proceeding.

 8. The Debtor has requested the authority to employ Frank D. Kirby, Esq. due to his

    experience in proceedings before this and other bankruptcy courts. Accordingly, Debtor

    believes that Attorney Kirby is well qualified to represent the debtor as bankruptcy

    counsel in this Chapter 11 case.

 9. The Debtor requires the retention of Frank D. Kirby, Esq. to provide the legal services

    and advice necessary for the Debtor to perform it's duties as debtor-in-possession. The

    services that Frank D. Kirby, Esq. will render as counsel to the Debtor may include, but is

    not limited to, the following:

        a. Advising the Debtor with respect to its rights, powers and duties as debtor-in-
           possession, both in the conduct of its Chapter 11 case and the management of its
           assets;

        b. Representing the Debtor in connection with negotiating and seeking court
           approval of debtor-in-possession financing and/or exit financing;

        c. Advising the Debtor with respect to any plan proposed by the Debtor and any
           other matters relevant to the formulation and negotiation of a plan of
           reorganization in this case;

        d. Representing the Debtor at all hearings and matters pertaining to its affairs as
           debtor and debtor-in-possession;
Case 08-14571      Doc 46     Filed 08/15/08 Entered 08/15/08 18:11:21             Desc Main
                               Document     Page 3 of 15


        e. Preparing, on the Debtors' behalf, all necessary and appropriate applications,
           motions, answers, orders, reports and other pleadings and other documents, and
           reviewing all financial and other reports filed in this Chapter 11 case;

        f. Reviewing and analyzing the nature and validity of any liens asserted against the
           Debtors' property and advising the Debtor concerning the enforceability of such
           liens;

        g. Advising the Debtor regarding its ability to initiate actions to collect and recover
           property for the benefit of the estate;

        h. Advising and assisting the Debtor in connection with the potential disposition of
           property;

        i. Advising the Debtor concerning executory contract and unexpired lease
           assumptions, assignments and rejections and lease restructurings and
           recharacterizations;

        j. Reviewing and analyzing various claims of the Debtor’s creditors and the
           treatment of such claims and the preparation, filing or prosecution of any
           objections to claims;

        k. Commencing and conducting any and all litigation necessary or appropriate to
           assert rights held by the Debtor, protecting assets of the Debtor’s Chapter 11
           estate or otherwise further the goal of completing the Debtor’s successful
           reorganization; and

        l. Performing any other legal services and provide any other legal advice that may
           be necessary.

 10. Subject to this Court's approval, Frank D. Kirby, Esq. will charge for his legal services in

    accordance with his ordinary and customary hourly rates in effect at the time services are

    rendered. The hourly rate of Frank D. Kirby, Esq. is $350 per hour. Attorney Kirby will

    maintain detailed, contemporaneous records of time and any actual and necessary

    expenses incurred in connection with the rendering of the legal services to the Debtor.

 11. All compensation and expense reimbursement for Frank D. Kirby, Esq. shall be subject to

    allowance by this Court upon appropriate application pursuant to Sections 330 and 331 of

    the Bankruptcy Code, applicable rules and any orders of this Court. Subject to this
Case 08-14571      Doc 46     Filed 08/15/08 Entered 08/15/08 18:11:21            Desc Main
                               Document     Page 4 of 15


    Court's approval, Attorney Kirby reserves the right to seek an enhancement of his fees or

    a lodestar award greater than the normal hourly time charges.

 12. Frank D. Kirby, Esq. is customarily reimbursed for all expenses incurred by him in

    connection with the representation of a client. Such expenses include, without limitation,

    long-distance telephone charges, copying costs, postage, express mail costs, special or

    hand delivery costs, facsimile transmission charges, overtime assistant's charges, Lexis

    and Westlaw charges, court charges, transcription costs, travel costs and other expenses

    that would not have been incurred except for the representation of a given client. The

    Debtor has agreed to reimburse Attorney Kirby in full for such disbursements and

    expenses.

 13. Subject to the approval of this application, Frank D. Kirby, Esq. has requested a retainer

    of $12,500.00 from the Debtor.

                            Disinterestedness of FDK

 14. Attached to this motion is the Affidavit of Frank D. Kirby, Esq. in Support of Debtor's

    Motion for Authorization to Employ Frank D. Kirby, Esq. as Replacement Counsel to the

    Debtor (the "Kirby Affidavit"), which includes a statement pursuant to 11 U.S.C. §§

    329(a) and 504.

 15. As set forth in greater detail in the attached Affidavit, Frank D. Kirby's involvement with

    the Debtor, creditors or other interested parties to the Debtor include the following:

        a. From 2005 to 2007, Frank D. Kirby, Esq. was a Director of United Shoe
            Machinery Corporation. From 2001 until 2004, that corporation borrowed money
            from the Debtor on several occasions. Affiant did not participate in any
            negotiations with the Debtor concerning these loans, and believes that such loans
            were made and paid in full prior to the time he became a Director of the borrower
            corporation.
Case 08-14571      Doc 46     Filed 08/15/08 Entered 08/15/08 18:11:21              Desc Main
                               Document     Page 5 of 15




        b. Applicant represented Converse Steel Fabricators & Erectors, Inc. d/b/a Converse
            Construction Co., Inc. in Chapter 11 proceedings, which plan was confirmed in
            April 1998 and which case was concluded September 2002. At the time of it’s
            filing, that company was factoring its’ accounts receivables with the Debtor and
            may have obtained some measure of debtor-in-possession financing concerning
            that Chapter 11 case. To the best of applicant’s knowledge, all such loans or
            advances were paid in full or otherwise settled during the bankruptcy proceedings.


 16. Except as is disclosed in the Kirby Affidavit, neither Frank D. Kirby, Esq. nor his

    associates have any involvement with the Debtor, its attorneys, other professionals,

    significant shareholders, directors and officers, secured lenders, other unsecured material

    creditors, or any other parties in interest, their respective attorneys and accountants, the

    United States Trustee, or any person employed in the Office of the United States Trustee.

 17. Except as disclosed in the Kirby Affidavit, to the best of the Debtors' knowledge, neither

    Frank D. Kirby, Esq. nor any of his associates hold or represent any interest adverse to

    the Debtors' estate with respect to the matters on which Attorney Kirby is to be

    employed, and Frank D. Kirby, Esq. and his associates are otherwise disinterested

    persons with respect to the Debtor as that term is defined in Section 101(14) of the

    Bankruptcy Code.

 18. Pursuant to MLBR 2014-1(d), the Debtor requests that its retention of Frank D. Kirby,

    Esq. be effective as of August 15, 2008.

                                          Notice

 19. The Debtor has provided notice of this motion to the United States Trustee, secured

    creditors, and all parties who have filed a notice of appearance. The Debtor believes that
  Case 08-14571        Doc 46    Filed 08/15/08 Entered 08/15/08 18:11:21             Desc Main
                                  Document     Page 6 of 15


       such service provides sufficient notice in light of the nature of the relief requested and

       requests that the Court approve such notice.




       WHEREFORE, the Debtor respectfully requests that this Court authorize Attorney

Kirby's retention as Debtor's counsel herein, and for such other relief as may be warranted under

these circumstances.




Dated: August 14, 2008                                Respectfully submitted,

                                                      BOSTON FINANCIAL CORPORATION
                                                      By its president, duly authorized,


                                                      /s/ Frank A. Coviello
                                                      Frank A. Coviello, President
  Case 08-14571       Doc 46     Filed 08/15/08 Entered 08/15/08 18:11:21            Desc Main
                                  Document     Page 7 of 15


                          UNITED STATES BANKRUPTCY COURT
                             DISTRICT OF MASSACHUSETTS
                                  EASTERN DIVISION

_________________________________________
In re:                                    )
                                          )
BOSTON FINANCIAL CORPORATION              )                  Chapter 11
                                          )                  No. 08-14571-HJB
                        Debtor            )
_________________________________________ )

         AFFIDAVIT OF FRANK D. KIRBY IN SUPPORT OF DEBTORS'
       MOTION FOR AUTHORIZATION TO EMPLOY FRANK D. KIRBY, ESQ.
               AS REPLACEMENT COUNSEL TO THE DEBTOR


       Pursuant to U.S.C. §§ 327 and 328, Fed. R. Bankr. P. 2014(a) and 2106, MLBR 2014-1,

and 28 U.S.C. § 1746, I, Frank D. Kirby, Esq., hereby state as follows:

   1. I, Frank D. Kirby, Esq., am an attorney licensed to practice law in the United States

       Bankruptcy Court in the District of Massachusetts. I maintain an office at 5 Pleasant

       Street, Worcester, Massachusetts. I make this Affidavit in support of the Debtors' Motion

       for Authorization to Employ Frank D. Kirby, Esq. as Replacement Counsel to the Debtor

       by the above-captioned Debtor (the "Debtor").

   2. I make this Affidavit on the basis of my personal knowledge except as to statements

       made upon information and belief or to the best of my knowledge, and I believe those

       statements and the information upon which they are based to be true.

   3. The Law Office of Frank D. Kirby, Esq. maintains records of all of its clients, the matters

       on which it represents clients, and the other parties which have a substantial role in such

       matters. I have reviewed such records and documents to determine my connections with

       the Debtors and parties in interest.
Case 08-14571      Doc 46     Filed 08/15/08 Entered 08/15/08 18:11:21            Desc Main
                               Document     Page 8 of 15


 4. Based upon my review as described above and in accordance with Bankruptcy Rule

    2104(a), neither I nor any associate of mine, insofar as I have been able to ascertain, has

    any connection or relationship with the Debtor, their creditors or any other parties in

    interest, or its respective attorneys and accountants, the United States Trustee or any

    person employed in the office of the United States Trustee except as follows:

        a. From 2005 to 2007, I, Frank D. Kirby, Esq. was a Director of United Shoe
            Machinery Corporation. From 2001 until 2004, that corporation borrowed money
            from the Debtor on several occasions. Affiant did not participate in any
            negotiations with the Debtor concerning these loans, and believes that such loans
            were made and paid in full prior to the time he became a Director of the borrower
            corporation.


        b. Applicant represented Converse Steel Fabricators & Erectors, Inc. d/b/a Converse
            Construction Co., Inc. in Chapter 11 proceedings, which plan was confirmed in
            April 1998 and which case was concluded September 2002. At the time of it’s
            filing, that company was factoring its’ accounts receivables with the Debtor and
            may have obtained some measure of debtor-in-possession financing concerning
            that Chapter 11 case. To the best of applicant’s knowledge, all such loans or
            advances were paid in full or otherwise settled during the bankruptcy proceedings.


 5. Based upon my review as described above, I am not presently aware of any

    representation by my firm of any creditors of the Debtor or other parties in interest that

    would disqualify myself or my office from being disinterested.

 6. I do not represent, nor am I represented by, any other authorized professional specifically

    in connection with this case or on a regular basis or in connection with a substantial

    matter in another case.
Case 08-14571      Doc 46     Filed 08/15/08 Entered 08/15/08 18:11:21            Desc Main
                               Document     Page 9 of 15


 7. Insofar as I have been able to ascertain, based upon my review, neither I nor any

    associate of mine hold or represent any interest adverse to that of the Debtors' estate. I

    believe that I am a "disinterested person" as that term is defined in 11 U.S.C. § 101(14).

    Furthermore, insofar as I have been able to ascertain, neither myself, nor any associate of

    mine, is connected with any Bankruptcy Judge in the District of Massachusetts, or the

    United States Trustee or any person employed in the office of the United States Trustee,

    so as to render the appointment of applicant as counsel for the Debtor inappropriate under

    Fed. R. Bankr. P. 5002(b).

 8. I have conducted, and will continue to conduct, research into any relationships I may

    have with the Debtor and their creditors, any accountants, attorneys or other professionals

    of the foregoing, and any other parties interested in this case. To the extent any such

    contacts are discovered, I will notify the Court by filing and serving a supplemental

    affidavit.

 9. Subject to this Court's approval, I will charge for my legal services in accordance with

    my ordinary and customary hourly rates in effect at the time services are rendered. The

    hourly rate of Frank D. Kirby, Esq. for 2008, is $350 per hour. I will maintain detailed,

    contemporaneous records of time and any actual and necessary expenses incurred in

    connection with the rendering of the legal services to the Debtor.

 10. All compensation, fee or allowance which may be claimed by me will belong wholly to

    me, and will not be divided, shared or pooled, directly or indirectly, with any other

    person or firm, except that any services rendered by my staff, consisting of persons

    associated with me in practice on a regular basis, will be separately detailed in my

    application(s) for compensation to be filed herein.
  Case 08-14571       Doc 46     Filed 08/15/08 Entered 08/15/08 18:11:21            Desc Main
                                  Document     Page 10 of 15


   11. I have requested a retainer of $12,500.00 from the Debtor, subject to this Court’s

       authorization to employ me as counsel.

   12. I shall amend this statement immediately upon my learning that (a) any of the

       representations made in this Affidavit are incorrect or (b) there is any change of

       circumstances relating thereto.

   13. I have reviewed the provisions of MLBR 2016-1.


       I declare under penalties of perjury that, to the best of my knowledge, the foregoing is
true and correct.



Dated: August 15, 2008                               /s/ Frank D. Kirby
                                                     Frank D. Kirby (BBO#273480)
                                                     Kirby & Associates, P.C.
                                                     5 Pleasant Street, 5th floor
                                                     Worcester, MA 01609
                                                     508.798.0020
Case 08-14571   Doc 46   Filed 08/15/08 Entered 08/15/08 18:11:21   Desc Main
                          Document     Page 11 of 15
Case 08-14571   Doc 46   Filed 08/15/08 Entered 08/15/08 18:11:21   Desc Main
                          Document     Page 12 of 15
  Case 08-14571        Doc 46     Filed 08/15/08 Entered 08/15/08 18:11:21             Desc Main
                                   Document     Page 13 of 15


                     UNITED STATES BANKRUPTCY COURT
                        DISTRICT OF MASSACHUSETTS
                               EASTERN DIVISION
_________________________________________
In re:                                    )
                                          )
BOSTON FINANCIAL CORPORATION              )    Chapter 11
                                          )    No. 08-14571-HJB
                        Debtor            )
_________________________________________ )

                            ORDER AUTHORIZING EMPLOYMENT OF
                                  REPLACEMENT COUNSEL

        Upon consideration of the Motion for Authorization to Employ Frank D. Kirby, Esq. as

Replacement Counsel to the Debtor to represent the above-named Debtor in proceedings with

respect to legal matters arising pursuant to the Chapter 11 proceedings of the above-named

Debtor, and it appearing that Frank D. Kirby is an attorney duly admitted to practice in this

Court, and the Court being satisfied that he represents no interest adverse to said Debtor, which

would affect his ability to properly represent the Debtor, it is:

        ORDERED, that the Debtor be and hereby is, authorized to employ Frank D. Kirby, Esq.

to represent it in all matters relating to legal matters arising pursuant to these Chapter 11

proceedings, and it is further

        ORDERED, that the compensation will be subject to the last sentence in 11 U.S.C. §

328(a), and it is further

        ORDERED, that compensation for the said Frank D. Kirby, Esq. will be determined by

the Bankruptcy Court.

        Dated this __________ day of ____________________, 2008.



                                                       ____________________________________
                                                       The Honorable Henry J. Boroff
                                                       U.S. Bankruptcy Judge
  Case 08-14571      Doc 46     Filed 08/15/08 Entered 08/15/08 18:11:21           Desc Main
                                 Document     Page 14 of 15


                         UNITED STATES BANKRUPTCY COURT
                            DISTRICT OF MASSACHUSETTS
                                 EASTERN DIVISION

_________________________________________
In re:                                    )
                                          )
BOSTON FINANCIAL CORPORATION              )                 Chapter 11
                                          )                 No. 08-14571-HJB
                        Debtor            )
_________________________________________ )


                                CERTIFICATE OF SERVICE

I, Elizabeth Mathieu, hereby certify that on the 15th day of August 2008, I caused a copy of the
attached Debtor's Motion For Authorization To Employ Frank D. Kirby, Esq. As Replacement
Counsel To The Debtor to be served by ecf and/or first class mail, postage prepaid upon each of
the persons and/or entities listed on the attached Service List.



                                                    /s/ Elizabeth Mathieu
                                                    5 Pleasant Street
                                                    Worcester, MA 01609
                                                    Phone: 508.798.0020
                                                    Fax: 508.798.0025
  Case 08-14571      Doc 46    Filed 08/15/08 Entered 08/15/08 18:11:21   Desc Main
                                Document     Page 15 of 15



                                     SERVICE LIST


John Fitzgerald
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